Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 1 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 2 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 3 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 4 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 5 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 6 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 7 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 8 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 9 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 10 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 11 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 12 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 13 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 14 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 15 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 16 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 17 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 18 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 19 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 20 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 21 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 22 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 23 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 24 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 25 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 26 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 27 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 28 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 29 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 30 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 31 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 32 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 33 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 34 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 35 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 36 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 37 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 38 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 39 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 40 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 41 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 42 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 43 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 44 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 45 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 46 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 47 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 48 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 49 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 50 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 51 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 52 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 53 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 54 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 55 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 56 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 57 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 58 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 59 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 60 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 61 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 62 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 63 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 64 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 65 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 66 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 67 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document   Page 68 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 69 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 70 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 71 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 72 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 73 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 74 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 75 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 76 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 77 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 78 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 79 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 80 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 81 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 82 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 83 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 84 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 85 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 86 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 87 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 88 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 89 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 90 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 91 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 92 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 93 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 94 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 95 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 96 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 97 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 98 of 286
Case 6:18-ap-01089-MH   Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document   Page 99 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 100 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 101 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 102 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 103 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 104 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 105 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 106 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 107 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 108 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 109 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 110 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 111 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 112 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 113 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 114 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 115 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 116 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 117 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 118 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 119 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 120 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 121 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 122 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 123 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 124 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 125 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 126 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 127 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 128 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 129 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 130 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 131 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 132 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 133 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 134 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 135 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 136 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 137 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 138 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 139 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 140 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 141 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 142 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 143 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 144 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 145 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 146 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 147 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 148 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 149 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 150 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 151 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 152 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 153 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 154 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 155 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 156 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 157 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 158 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 159 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 160 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 161 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 162 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 163 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 164 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 165 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 166 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 167 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 168 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 169 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 170 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 171 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 172 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 173 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 174 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 175 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 176 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 177 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 178 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 179 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 180 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 181 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 182 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 183 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 184 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 185 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 186 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 187 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 188 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 189 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 190 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 191 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 192 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 193 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 194 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 195 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 196 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 197 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 198 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 199 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 200 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 201 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 202 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 203 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 204 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 205 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 206 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 207 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 208 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 209 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 210 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 211 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 212 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 213 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 214 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 215 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 216 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 217 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 218 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 219 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 220 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   D
                        Main Document    Page 221 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 222 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 223 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 224 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 225 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 226 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 227 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 228 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 229 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 230 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 231 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 232 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 233 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 234 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 235 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 236 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 237 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 238 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 239 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 240 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 241 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 242 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 243 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 244 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 245 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 246 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 247 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 248 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 249 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 250 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 251 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 252 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 253 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 254 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 255 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 256 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 257 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 258 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 259 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 260 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 261 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 262 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 263 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 264 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 265 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 266 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 267 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 268 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 269 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 270 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 271 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 272 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 273 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 274 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 275 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 276 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 277 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 278 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 279 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 280 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 281 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 282 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 283 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 284 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 285 of 286
Case 6:18-ap-01089-MH    Doc 46 Filed 02/05/19 Entered 02/05/19 13:46:26   Desc
                        Main Document    Page 286 of 286
